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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

  MICHAEL PEARSON, et al.,

          Plaintiffs,
                                                     CASE NO. 1:21-CV-22437
          v.
                                                     Bloom/Otazo-Reyes
  DEUTSCHE BANK AG, et al.,

          Defendants.


                                     NOTICE OF HEARING

        PLEASE TAKE NOTICE that the following matter will come for a hearing before Judge

 Otazo-Reyes on February 23, 2022 at 3:30 p.m. Judge Otazo-Reyes’ Chambers will provide the

 Parties with the dial-in information for the hearing.

        On January 31, 2022, the Parties met and conferred over Plaintiffs’ First Request for

 Production of Documents to Defendants, served on December 6th, 2021. The Parties were unable

 to come to an agreement as to three of Plaintiffs’ Requests, and Plaintiffs now request the Court’s

 intervention. The three Requests at issue are:

        Request 25: Documents you provided to regulators over the course of the investigation
        leading to the May 2017 penalty and consent cease and desist order (“the May 2017 Order”)
        issued against your United States operations for anti-money laundering deficiencies. For
        the avoidance of doubt, this request does not seek your communications with regulators or
        materials created for or at the requests of regulators and instead seeks the materials already
        in existence at the time of regulators’ requests and subsequently provided to such regulators

        Request 26: Documents sufficient to show any demands from regulators in connection
        with the May 2017 Order that you close certain accounts.

        Request 28: Documents sufficient to show any other government or regulatory action
        taken against you related to any actual or alleged violation of anti-money laundering laws
        and regulations, including initiating or charging documents, any conclusions or findings,
        materials provided by you to any government entity in response to any investigation or
        request, and the resolution of such investigations or proceedings.



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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

        Pursuant to Local Rule 7.1(a)(3), the undersigned counsel for Plaintiffs conferred, by

 email and telephone, with counsel for Defendants in a good faith effort to resolve the issues

 raised herein. Despite those efforts, the parties were not able to resolve the issues.

        This 4th day of February 2022.

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                                                    Attorneys for Plaintiffs



                                            Signature Page
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                                CERTIFICATE OF SERVICE

        I hereby certify that I have caused to be served the foregoing NOTICE OF HEARING by

 filing it with the Clerk of Court using the CM/ECF system upon the following counsel of record:

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        This 4th day of February, 2022.

                                                    /s/ John H. Rains IV
                                                    John H. Rains IV




                                   Certificate of Service Page
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